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 8
                         UNITED STATES DISTRICT COURT
 9
                       SOUTHERN DISTRICT OF CALIFORNIA
10
     THANE CHARMAN, individually              )   Case No. '21CV1423 BAS KSC
11
     and on behalf of all others similarly    )
12   situated,                                )   CLASS ACTION
13                                            )
     Plaintiff,                               )   COMPLAINT FOR VIOLATIONS
14                                            )   OF:
15          vs.                               )
                                              )   1. NEGLIGENT VIOLATIONS OF
16                                                   THE TELEPHONE CONSUMER
                                              )      PROTECTION ACT [47 U.S.C. §
17   TRINITY SOLAR INC.; DOES 1               )      227 ET SEQ.]
     through 10, inclusive,                   )   2. WILLFUL VIOLATIONS OF THE
18                                                   TELEPHONE CONSUMER
                                              )      PROTECTION ACT [47 U.S.C. §
19   Defendants.                              )      227 ET SEQ.]
20                                            )
                                              )   DEMAND FOR JURY TRIAL
21
            Plaintiff, THANE CHARMAN (“Plaintiff”), individually and all others
22
     similarly situated, alleges the following upon information and belief based upon
23
     personal knowledge:
24
                                 NATURE OF THE CASE
25
            1.     Plaintiff brings this action individually and on behalf of all others
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     similarly situated seeking damages and any other available legal or equitable
27
     remedies resulting from the illegal actions of TRINITY SOLAR INC.
28



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 1   (“Defendant”), in negligently, knowingly, and/or willfully contacting Plaintiff on
 2   Plaintiff’s cellular telephone in violation of the Telephone Consumer Protection
 3   Act, 47 U.S.C. § 227 et seq. (“TCPA”), thereby invading Plaintiff’s privacy.
 4                              JURISDICTION & VENUE
 5         2.     Jurisdiction is proper under 28 U.S.C. § 1331 because Plaintiff’s
 6   claims arise out of a law of the United States, the TCPA.
 7         3.     Venue is proper in the United States District Court for the Southern
 8   District of California pursuant to 28 U.S.C. § 1391(b) because a substantial portion
 9   of the events giving rise to Plaintiff’s claims occurred in this District.
10                                         PARTIES
11         4.     Plaintiff, THANE CHARMAN (“Plaintiff”), is a natural person
12   residing in San Diego County of the state of California and is a “person” as defined
13   by 47 U.S.C. § 153(10).
14         5.     Defendant, TRINITY SOLAR INC. (“Defendant”), is a solar energy
15   company formed in New Jersey, with its principal place of business located in Wall,
16   New Jersey, and is a “person” as defined by 47 U.S.C. § 153(10).
17         6.     The above-named Defendant, and its subsidiaries and agents, are
18   collectively referred to as “Defendants.” The true names and capacities of the
19   Defendants sued herein as DOE DEFENDANTS 1 through 10, inclusive, are
20   currently unknown to Plaintiff, who therefore sues such Defendants by fictitious
21   names. Each of the Defendants designated herein as a DOE is legally responsible
22   for the unlawful acts alleged herein. Plaintiff will seek leave of Court to amend the
23   Complaint to reflect the true names and capacities of the DOE Defendants when
24   such identities become known.
25         7.     Plaintiff is informed and believes that at all relevant times, each and
26   every Defendant was acting as an agent and/or employee of each of the other
27   Defendants and was acting within the course and scope of said agency and/or
28   employment with the full knowledge and consent of each of the other Defendants.


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 1   Plaintiff is informed and believes that each of the acts and/or omissions complained
 2   of herein was made known to, and ratified by, each of the other Defendants.
 3                              FACTUAL ALLEGATIONS
 4         8.     During or about November 19, 2020, Defendant contacted Plaintiff on
 5   his cellular telephone, (619) 300-1119, in an effort to sell or solicit its services.
 6         9.     When Plaintiff answered Defendant’s call by saying “Hello,” there
 7   was a momentary pause and a “bloop” sound before Plaintiff heard another voice.
 8         10.    Plaintiff suspected that the caller was not a live agent, so he asked the
 9   caller to say the word “giraffe,” in order to determine whether he was speaking to
10   a human being and not a prerecorded voice message.
11         11.    In response, the caller nervously laughed before going silent. Plaintiff
12   then said “hello?” which elicited the exact same nervous laugh.
13         12.    Later in the call, the caller named a few companies that would be
14   contacting Plaintiff for his “free home solar consultation,” which included
15   Defendant, TRINITY SOLAR INC.
16         13.    The caller further stated, “just so you know these local installer
17   partners may use an automatic dialing system just like what I’ve used today to
18   contact you at this number.”
19         14.    Based on the above factual allegations, Defendant used an “automatic
20   telephone dialing system” (“ATDS”), as defined by 47 U.S.C. § 227(a)(1) to place
21   its call to Plaintiff seeking to sell or solicit its services, as the pause and tone that
22   Plaintiff heard at the outset of Defendant’s call is indicative of an ATDS.
23         15.    Further, Defendant utilized an “artificial or prerecorded voice” as
24   prohibited by 47 U.S.C. § 227(b)(1)(A) during the call.
25         16.    Defendant’s call constituted a call that was not for emergency
26   purposes as defined by 47 U.S.C. § 227(b)(1)(A).
27         17.    Defendant’s call was placed to telephone number assigned to a cellular
28   telephone service for which Plaintiff incurs a charge for incoming calls pursuant to


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 1   47 U.S.C. § 227(b)(1).
 2         18.    Plaintiff is not a customer of Defendant’s services and never provided
 3   any personal information, including his cellular telephone number, to Defendant
 4   prior to Defendant’s call. Accordingly, Defendant never received Plaintiff’s “prior
 5   express consent” to receive calls using an automatic telephone dialing system or an
 6   artificial or prerecorded voice on his cellular telephone pursuant to 47 U.S.C. §
 7   227(b)(1)(A).
 8         19.    Plaintiff suffered a concrete and particularized injury in fact as a result
 9   of the solicitation call he received. The call invaded Plaintiff’s privacy, causing
10   annoyance, wasting his time, consuming use of his smartphone device without
11   authorization, and otherwise invading his privacy and intruding into his personal
12   affairs without permission. The call also constituted a form of the precise harm that
13   Congress was attempting to prohibit with the TCPA, which was designed to remedy
14   invasions of privacy and nuisances caused to Americans by automated
15   telemarketing calls placed without consent. Plaintiff actually suffered this precise
16   injury by receiving the unwanted telemarketing call, and having his privacy so
17   invaded through a disturbance of his solitude, and unwanted intrusion of his
18   technology and personal space. Accordingly, Plaintiff has Article III standing to
19   seek redress for these violations in Federal Court.
20                               CLASS ALLEGATIONS
21         20.    Plaintiff brings this action on behalf of himself and all others similarly
22   situated, as a member of the proposed class (hereafter “The Class”) defined as
23   follows:
24                All persons within the United States who received any
                  telephone calls from Defendant to said person’s cellular
25                telephone made through the use of any automatic
26                telephone dialing system or an artificial or prerecorded
                  voice and such person had not previously consented to
27
                  receiving such calls within the four years prior to the
28                filing of this Complaint through the date of class


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 1                certification.
 2
           21.    Plaintiff represents, and is a member of, The Class, consisting of All
     persons within the United States who received any telephone calls from Defendant
 3
     to said person’s cellular telephone made through the use of any automatic telephone
 4
     dialing system or an artificial or prerecorded voice and such person had not
 5
     previously provided their cellular telephone number to Defendant within the four
 6
     years prior to the filing of this Complaint through the date of class certification.
 7
           22.    Defendant, its employees and agents are excluded from The Class.
 8
     Plaintiff does not know the number of members in The Class, but believes the Class
 9
     members number in the thousands, if not more. Thus, this matter should be
10
     certified as a Class Action to assist in the expeditious litigation of the matter.
11
           23.    The Class is so numerous that the individual joinder of all of its
12
     members is impractical. While the exact number and identities of The Class
13
     members are unknown to Plaintiff at this time and can only be ascertained through
14
     appropriate discovery, Plaintiff is informed and believes and thereon alleges that
15
     The Class includes thousands of members.            Plaintiff alleges that The Class
16
     members may be ascertained by the records maintained by Defendant.
17
           24.    Plaintiff and members of The Class were harmed by the acts of
18
     Defendant in at least the following ways: Defendant illegally contacted Plaintiff
19
     and Class members via their cellular telephones thereby causing Plaintiff and Class
20
     members to incur certain charges or reduced telephone time for which Plaintiff and
21
     Class members had previously paid by having to retrieve or administer messages
22
     left by Defendant during those illegal calls, and invading the privacy of said
23
     Plaintiff and Class members.
24
           25.    Common questions of fact and law exist as to all members of The
25
     Class which predominate over any questions affecting only individual members of
26
     The Class. These common legal and factual questions, which do not vary between
27
     Class members, and which may be determined without reference to the individual
28
     circumstances of any Class members, include, but are not limited to, the following:


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 1                a.     Whether, within the four years prior to the filing of this
                         Complaint through the date of class certification, Defendant
 2                       made any call (other than a call made for emergency purposes
 3                       or made with the prior express consent of the called party) to a
                         Class member using any automatic telephone dialing system or
 4
                         any artificial or prerecorded voice to any telephone number
 5                       assigned to a cellular telephone service;
 6
                  b.     Whether Plaintiff and the Class members were damaged
                         thereby, and the extent of damages for such violation; and
 7                c.     Whether Defendant should be enjoined from engaging in such
 8                       conduct in the future.
 9
           26.    As a person that received a call from Defendant using an automatic
10
     telephone dialing system or an artificial or prerecorded voice, without Plaintiff’s
11
     prior express consent, Plaintiff is asserting claims that are typical of The Class.
12
           27.    Plaintiff will fairly and adequately protect the interests of the members
13   of The Class. Plaintiff has retained attorneys experienced in the prosecution of
14   class actions.
15         28.    A class action is superior to other available methods of fair and
16   efficient adjudication of this controversy, since individual litigation of the claims
17   of all Class members is impracticable. Even if every Class member could afford
18   individual litigation, the court system could not. It would be unduly burdensome
19   to the courts in which individual litigation of numerous issues would proceed.
20   Individualized litigation would also present the potential for varying, inconsistent,
21   or contradictory judgments and would magnify the delay and expense to all parties
22   and to the court system resulting from multiple trials of the same complex factual
23   issues. By contrast, the conduct of this action as a class action presents fewer
24   management difficulties, conserves the resources of the parties and of the court
25   system, and protects the rights of each Class member.
26         29.    The prosecution of separate actions by individual Class members
27   would create a risk of adjudications with respect to them that would, as a practical
28   matter, be dispositive of the interests of the other Class members not parties to such


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 1   adjudications or that would substantially impair or impede the ability of such non-
 2   party Class members to protect their interests.
 3         30.    Defendant has acted or refused to act in respects generally applicable
 4   to The Class, thereby making appropriate final and injunctive relief with regard to
 5   the members of the Class as a whole.
 6                             FIRST CAUSE OF ACTION
 7          Negligent Violations of the Telephone Consumer Protection Act
 8                                 47 U.S.C. § 227 et seq.
 9         31.    Plaintiff repeats and incorporates by reference into this cause of action
10   the allegations set forth above at Paragraphs 1-30.
11         32.    The foregoing acts and omissions of Defendant constitute numerous
12   and multiple negligent violations of the TCPA, including but not limited to each
13   and every one of the above cited provisions of 47 U.S.C. § 227 et seq.
14         33.    As a result of Defendant’s negligent violations of 47 U.S.C. § 227 et
15   seq., Plaintiff and the Class Members are entitled to an award of $500.00 in
16   statutory damages, for each and every violation, pursuant to 47 U.S.C. §
17   227(b)(3)(B).
18         34.    Plaintiff and the Class members are also entitled to and seek
19   injunctive relief prohibiting such conduct in the future.
20
                         SECOND CAUSE OF ACTION
21    Knowing and/or Willful Violations of the Telephone Consumer Protection
22
                                        Act
                              47 U.S.C. § 227 et seq.
23
24         35.    Plaintiff repeats and incorporates by reference into this cause of
25   action the allegations set forth above at Paragraphs 1-30.
26         36.    The foregoing acts and omissions of Defendant constitute numerous
27   and multiple knowing and/or willful violations of the TCPA, including but not
28   limited to each and every one of the above cited provisions of 47 U.S.C. § 227 et


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 1   seq.
 2          37.    As a result of Defendant’s knowing and/or willful violations of 47
 3   U.S.C. § 227 et seq., Plaintiff and the Class members are entitled to an award of
 4   $1,500.00 in statutory damages, for each and every violation, pursuant to 47
 5   U.S.C. § 227(b)(3)(B) and 47 U.S.C. § 227(b)(3)(C).
 6          38.    Plaintiff and the Class members are also entitled to and seek
 7   injunctive relief prohibiting such conduct in the future.
 8                                 PRAYER FOR RELIEF
 9   WHEREFORE, Plaintiff requests judgment against Defendant for the following:
10
                             FIRST CAUSE OF ACTION
11          Negligent Violations of the Telephone Consumer Protection Act
12                               47 U.S.C. § 227 et seq.
13
                   As a result of Defendant’s negligent violations of 47 U.S.C. §
14                  227(b)(1), Plaintiff and the Class members are entitled to and request
15                  $500 in statutory damages, for each and every violation, pursuant to
                    47 U.S.C. 227(b)(3)(B); and
16
17                 Any and all other relief that the Court deems just and proper.
18
                         SECOND CAUSE OF ACTION
19    Knowing and/or Willful Violations of the Telephone Consumer Protection
20                                      Act
                              47 U.S.C. § 227 et seq.
21
22                 As a result of Defendant’s willful and/or knowing violations of 47
                    U.S.C. § 227(b)(1), Plaintiff and the Class members are entitled to
23
                    and request treble damages, as provided by statute, up to $1,500, for
24                  each and every violation, pursuant to 47 U.S.C. § 227(b)(3)(B) and
25                  47 U.S.C. § 227(b)(3)(C); and
26                 Any and all other relief that the Court deems just and proper.
27
28



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 1         39.    Pursuant to the Seventh Amendment to the Constitution of the United
 2   States of America, Plaintiff is entitled to, and demands, a trial by jury.
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 4
 5
 6   Respectfully Submitted this 9th day of August, 2021.
 7                              LAW OFFICES OF TODD M. FRIEDMAN, P.C.
 8
 9                                     By: /s Todd M. Friedman
                                           Todd M. Friedman
10                                         Law Offices of Todd M. Friedman
11                                         Attorney for Plaintiff
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